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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KIMBERLY KUBAS
         Plaintiff,                                     Civil Action No.: 1:20-cv-2456

v.

331B, LLC d/b/a Rockwell Fitness
            Defendant.

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                       AMENDED SCHEDULING ORDER

       Pursuant to the Court’s Order of October 16, 2020 [doc 10], the following deadlines are

modified:

December 8, 2020:    February 8, 2021      Plaintiff’s Rule 26(a)(2) disclosures

January 7, 2021:     March 8, 2021         Defendant’s Rule 26(a)(2) disclosures

January 21, 2021:    March 22, 2021        Plaintiff’s rebuttal Rule 26(a)(2) disclosures

January 28, 2021:    March 29, 2021        Rule 26(e)(2) supplementation of disclosures
                                           and responses

February 22, 2021:   April 23, 2021        Discovery deadline; submission of status report

March 1, 2021:       April 30, 2021        Requests for admission

March 23, 2021:      May 24, 2021          Dispositive pretrial motions deadline



ENTER: ________________________                   ______________________________
                                                  Deborah L. Boardman
                                                  United States Magistrate Judge
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Order prepared by:

   /s/
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